




NO. 07-05-0119-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL D



APRIL 7, 2005	

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Ex parte SHANE A. HILL, 

 

Appellant

_________________________________



FROM THE 154
TH
 DISTRICT COURT OF LAMB COUNTY;



NO. 16,538; HON. FELIX KLEIN, PRESIDING

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Order of Dismissal

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Before QUINN, REAVIS, and CAMPBELL, JJ.

Shane A. Hill appeals from an order dismissing his application for writ of habeas corpus. &nbsp;The writ was sought to obtain release from the purported restraint of Bruce Peel, mayor of Littlefield, Texas. &nbsp;Peel had moved for dismissal, contending that the trial court lacked jurisdiction over the proceedings. &nbsp;The trial court granted the motion. &nbsp;We now dismiss the appeal for lack of jurisdiction.

One may not appeal from an order denying a writ of habeas corpus unless the order arose after a hearing on the merits and the trial court denied the application on the merits. &nbsp;
Ex parte Hargett
, 819 S.W.2d 866, 868 (Tex. Crim. App. 1991). &nbsp;Next, granting a motion to dismiss due to the absence of jurisdiction is not a ruling on the merits. &nbsp;
See Bland Indep. Sch. Dist. v. Blue
, 34 S.W.3d 547, 554 (Tex. 2000);
 see also
 
City of Lubbock v. Rule, 
68 S.W.3d 853, 857 (Tex. App.–
Amarillo 2002, no pet.). &nbsp;So because the trial court dismissed the appeal due to the lack of jurisdiction, we ourselves have no jurisdiction over the appeal. &nbsp;Accordingly, the appeal is dismissed for want of jurisdiction.





Brian Quinn

 &nbsp;&nbsp;Justice



Do not publish.



 


